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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

BRITTINEE WASHINGTON,                            §
           Plaintiff,                            §
                                                 §
                                                                          4:21-cv-871
vs.                                              §     CIVIL ACTION NO. _____________
                                                 §
NATIONAL OILWELL VARCO, L.P.,                    §
          Defendant.                             §

                         PLAINTIFF’S ORIGINAL COMPLAINT

TO THE HONORABLE JUDGE OF SAID COURT:

        NOW COMES BRITTINEE WASHINGTON, hereinafter called “Plaintiff” or “Ms.

Washington,” complaining of and about NATIONAL OILWELL VARCO, L.P., hereinafter

called “Defendant” or “NOV,” and for cause of action shows unto the Court the following:

                                  PARTIES AND SERVICE

        1.    Plaintiff BRITTINEE WASHINGTON, is a citizen of the United States and the

State of Texas and resides in Tarrant County, Texas.

        2.    Defendant, NATIONAL OILWELL VARCO, L.P., is a foreign limited

partnership formed under the laws of the State of Delaware. Defendant is registered in and

maintains its principal place of business in the State of Texas. Defendant may be served with

process by serving its registered agent, CT CORPORATION SYSTEM, its agent authorized to

accept service at 811 DALLAS AVENUE HOUSTON, TX 77036.

                                 JURISDICTION AND VENUE

        3.    The action arises under Title 42 U.S.C. Section 2000e et. seq. and 42 U.S.C.

Section 1981 as amended by the Civil Rights Act of 1991 as hereinafter more fully appears.

        4.    This Court has supplemental jurisdiction over state law claims discussed below
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under 28 U.S.C. Section 1367(a) because they arise out of the same case or controversy.

           5.       Venue is proper in the United States District Court for the Northern District of

Texas, Fort Worth Division pursuant to 28 U.S.C. § 1391(b) because this is the judicial district in

which a substantial part of the events or omissions giving rise to Plaintiff’s claim occurred.

                                            NATURE OF ACTION

           6.       This is an action under Title 42 U.S.C. Section 2000e et. seq. and 42 U.S.C.

Section 1981 as amended by the Civil Rights Act of 1991 to correct unlawful employment

practices on the basis of race, color and sex.

                                       EXHAUSTION OF REMEDIES

           7.       Plaintiff timely filed a Charge of Discrimination with the Equal Employment

Opportunity Commission against the Defendant. Plaintiff files this Complaint within ninety days

of Plaintiff's receipt of the Equal Employment Opportunity Commission's issuance of a right to

sue letter1. All conditions precedent to jurisdiction have been performed or have occurred.

                                         FACTUAL ALLEGATIONS

           8.       Ms. Washington is a young African-American woman.

           9.       Ms. Washington was employed by Defendant on March 18, 2019 as a service

coordinator. Defendant is a large company with more than 35,000 employees.

           9.       On or about June 21, 2019, Garret Wojick, hereinafter “Wojick,” Plaintiff’s

supervisor at NOV, urged Ms. Washington to take a “junior sales associate position” which

would includes more responsibility and duties. However, there would be no pay increase

associated with the new position.

           10.      Historically, when an African-American was offered this position it was


1
    See Ex. A.(“Dismissal and Notice of Rights”).
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considered a lateral move (no additional pay), however, when their Caucasian counterparts were

offered the role, those Caucasian employees received an increased income.

        11.     Although Ms. Washington was committed to being a valued member at NOV and

would have likely accepted the role, she requested for additional time to consider the move.

        12.     Unfortunately, Wojick began impatiently harassing Ms. Washington about the

move to the new position. Eventually, on June 25, 2019, Wojick called Ms. Washington to her

office where he berated and yelled at her. Ms. Washington left that meeting visibly frightened

and in tears.

        13.     As a result of this awful event, Ms. Washington contacted NOV’s ethics

department and filed a formal report against Wojick for his harassing, aggressive, abusive, and

argumentative behavior.

        14.     Once Wojick learned of this report, he began retaliating against Ms. Washington.

Wojick’s retaliation included terminating Ms. Washington’s training, making false accounts of

Ms. Washington’s whereabouts during work hours, attacking Ms. Washington’s character and

work ethic to other employees. Wojick even enlisted the help of the Chelsea Power hereinafter

“Power,” NOV’s general manager, and Jimmy Pretty hereinafter “Pretty”, head of NOV’s

security department to create a hostile work environment for Ms. Washington.

        15.     After learning of Ms. Washington’s report against Wojick, Power would harass

Ms. Washington about keeping her door shut while she completed her work duties. However,

Power failed to address Ester Rice, Ms. Washington’s Caucasian counterpart who had always

worked with her door shut. It is important to note that during the time of Ms. Washington’s

employment, there was no door policy that had ever been implemented by NOV.

        16.     Subsequently, Power instructed Pretty to conduct full surveillance of Ms.


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Washington while she was on the premises. Pretty was tasked with ensuring that Ms.

Washington was working from the time she arrived until the time she departed. Power had hoped

that Ms. Washington would be caught not working to have a lawful reason to terminate Ms.

Washington. No other employee had been subjected to this hostile working environment of

“corporate stalking.” Nonetheless, Ms. Washington, as a quality employee, continued to arrive at

work on time, complete her job correctly, and left the premises when told to do so.

       17.     Because Wojick, Power, and Pretty were unsuccessful in their attempt to find a

reason to fire Ms. Washington, even after the full security surveillance, they then secured the

help of Anita Martin hereinafter “Martin,” who was employed by NOV to investigate its Ethics

reports. Martin failed to investigate Ms. Washington’s claims which came much before Wojick’s

retaliatory actions. However, whenever Wojick made a report against Ms. Washington, Martin

promptly investigated every claim.

       18.     At Martin’s direction, Ms. Washington was demoted to a manual labor position—

which was substantially and materially different from her more “corporate like” role of service

coordinator. Ironically enough, although Ms. Washington had completed her trainings and had a

favorable work performance, she was put in the warehouse where the vast majority of the

African American employees were placed. Specifically, in an effort to force Ms. Washington to

quit, she was placed in the shipping and lifting department where no other woman was employed

due to the physically demanding requirements of the job.

       19.     Martin, who employed by NOV to uphold a positive working culture at the

company, was rude, demeaning, overly aggressive, and even made it very clear that she did not

want to receive another email from Ms. Washington expressing my concerns with Wojick and

the hostile work environment he created. Ms. Washington was left without any support from


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management and was alienated due to her reporting a “member of the management club.” No

supervisor or manager at NOV ever took steps to discipline or rehabilitate Wojick’s behavior

towards Ms. Washington. Instead, she was demoted and contiuously harassed by the

management club including Garrett Wojick, Chelsea Power, Jimmy Pretty, Anita Martin, Daniel

Garcia, and Patrick Sykes. All of these NOV managers have either made disgusting remarks

about or towards Ms. Washington or have taken some adverse employment action against her.

Further, none of these parties are African-American and have not subjected any of their

Caucasian counterparts to the awful and above-described treatment.

       20.       Eventually, on December 5, 2019, Ms. Washington was terminated. Ironically,

Ms. Washington had never been written up for her job performance, attendance, or behavior at

the workplace.

       21.       As a result of the firing, Ms. Washington was diagnosed with major depression

and was unable to find comparable employment for an extended period of time.

                       RESPONDEAT SUPERIOR AND RATIFICATION

       22.       Plaintiff re-asserts and incorporates by reference all of the facts set forth in the

above-numbered paragraphs.

       23.       Whenever it this lawsuit it is alleged that Defendant did any act or thing it is

meant that the Defendant’s officers, agents, servants, employees, or representatives did such act

and/or that at that time such act was done, it was done with the full authorization or ratification

of the Defendant or was done in the normal and routine course and scope of employment of

Defendant’s officers, agents, servants, employees, or representatives.




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CAUSES OF ACTION

CLAIM FOR RELIEF NO. 1: RACE DISCRIMINATION IN VIOLATION of 42 U.S.C. § 2000e, et seq.

       24.     Plaintiff re-asserts and incorporates by reference all of the facts set forth in the

above-numbered paragraphs.

       25.     Plaintiff is a member of a protected class.

       26.     Plaintiff was treated differently than individuals not in her protected class in that,

among other things, she was not offered additional pay for the offered increased role of “junior

sales associate,” her reports against Wojick were not investigated, she was placed under full

security surveillance, she was demoted although her work performance was favorable and her

employment was terminated.

       27.     Plaintiff’s race was the sole or motivating factor in these unlawful acts by

Defendant.

       28.     Defendant’s unlawful acts have caused Plaintiff economic damages in the form of

lost income, benefits, and consequential damages in an amount to be proved at trial, but which

Plaintiff estimates to be not less than $100,000.

       29.     Defendant’s unlawful acts have caused Plaintiff noneconomic damages in the

form of emotional distress, in an amount to be proved at trial, but which Plaintiff estimates to be

not less than $100,000.

       30.     Pursuant to 42 U.S.C. § 2000e 5(k), Plaintiff is entitled to her costs,

disbursements, and reasonable attorney’s fees incurred.

     CLAIM FOR RELIEF NO. 2: RACE DISCRIMINATION IN VIOLATION of 42 U.S.C. § 1981

       31.     Plaintiff re-asserts and incorporates by reference all of the facts set forth in the

above-numbered paragraphs.


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       32.     Defendant discriminated against Plaintiff on the basis of her race by subjecting

her to disparate treatment in the terms, privileges, and conditions of her employment in violation

of 42 U.S.C. § 1981.

       33.     Defendant’s unlawful acts have caused Plaintiff economic damages in the form of

lost income, benefits, and consequential damages in an amount to be proved at trial, but which

Plaintiff estimates to be not less than $100,000.

       34.     Defendant’s unlawful acts have caused Plaintiff noneconomic damages in the

form of emotional distress, in an amount to be proved at trial, but which Plaintiff estimates to be

not less than $100,000.

       35.     Pursuant to 42 U.S.C. § 1988, Plaintiff is entitled to her costs, disbursements, and

reasonable attorney’s fees incurred.

 CLAIM FOR RELIEF NO. 3: SEX DISCRIMINATION IN VIOLATION of 42 U.S.C. § 2000e, et seq.

       36.     Plaintiff re-asserts and incorporates by reference all of the facts set forth in the

above-numbered paragraphs.

       37.     Plaintiff is a member of a protected class

       38.     Plaintiff was treated differently than individuals not in her protected class in that,

among other things, she was not offered additional pay for the offered increased role of “junior

sales associate,” her reports against Wojick were not investigated, she was placed under full

security surveillance, she was demoted although her work performance was favorable and her

employment was terminated.

       39.     Plaintiff’s race was the sole or motivating factor in these unlawful acts by

Defendant.




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       40.     Defendant’s unlawful acts have caused Plaintiff economic damages in the form of

lost income, benefits, and consequential damages in an amount to be proved at trial, but which

Plaintiff estimates to be not less than $100,000.

       41.     Defendant’s unlawful acts have caused Plaintiff noneconomic damages in the

form of emotional distress, in an amount to be proved at trial, but which Plaintiff estimates to be

not less than $100,000.

       42.     Pursuant to 42 U.S.C. § 2000e 5(k), Plaintiff is entitled to her costs,

disbursements, and reasonable attorney’s fees incurred.

   CLAIM FOR RELIEF NO. 4: GENDER DISCRIMINATION IN VIOLATION of 42 U.S.C. § 1981

       43.     Plaintiff re-asserts and incorporates by reference all of the facts set forth in the

above-numbered paragraphs.

       44.     Defendant discriminated against Plaintiff on the basis of her gender by subjecting

her to disparate treatment in the terms, privileges, and conditions of her employment in violation

of 42 U.S.C. § 1981.

       45.     Defendant’s unlawful acts have caused Plaintiff economic damages in the form of

lost income, benefits, and consequential damages in an amount to be proved at trial, but which

Plaintiff estimates to be not less than $100,000.

       46.     Defendant’s unlawful acts have caused Plaintiff noneconomic damages in the

form of emotional distress, in an amount to be proved at trial, but which Plaintiff estimates to be

not less than $100,000.

       47.     Pursuant to 42 U.S.C. § 1988, Plaintiff is entitled to her costs, disbursements, and

reasonable attorney’s fees incurred.




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                             CLAIM FOR RELIEF NO. 5: RETALIATION

        48.     Plaintiff re-asserts and incorporates by reference all of the facts set forth in the

above-numbered paragraphs.

        49.     Plaintiff opposed Defendant’s unlawful discriminatory conduct and employment

practices.

        50.     Defendant retaliated against Plaintiff by becoming hostile toward her by,

including, but not limited to, investigating her reports against Wojick, placing Ms. Washington

under full security surveillance, demoting Ms. Washington although her work performance was

favorable, and terminating her employment.

        51.     Defendant ultimately terminated Plaintiff because of her opposition to its

unlawful practices.

                CLAIM FOR RELIEF NO. 6: INFLICTION OF EMOTIONAL DISTRESS

        52.     Plaintiff re-asserts and incorporates by reference all of the facts set forth in the

above-numbered paragraphs.

        53.     Defendant intentionally or recklessly acted unlawfully towards Plaintiff.

Defendant's conduct was extreme and outrageous and proximately caused Plaintiff severe

emotional distress. Plaintiff suffered damages for which Plaintiff herein sues.


                                  DEMAND FOR JURY TRIAL

        54.     Pursuant to Fed. R. Civ. P. 38, Plaintiff demands trial by jury in this action on all

issues triable by a jury.




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                                            PRAYER

       55.     For the reasons stated above, Plaintiff respectfully prays that Defendant be cited

to appear and answer herein, and that upon a final hearing of this cause, judgment be entered for

Plaintiff against Defendant for the following:

               A.     Actual and/or compensatory damages in an amount to be determined by

                      the trier of fact as sufficient to compensate her for the damages alleged in

                      the complaint;

               B.     Past and future lost wages;

               C.     Lost benefits;

               D.     Mental-anguish damages;

               E.     Pre- and post-judgment on lost wages and benefits, and post-judgment

                      interest on all sums, including attorney’s fees;

               F.     Liquidated damages;

               G.     Attorney’s fees;

               H.     Costs and expenses of suit; and

               I.     All other relief the court deems appropriate.


                                             Respectfully submitted,

                                             CALHOUN, MEREDITH, & SIMS, PLLC

                                             /s/ Treshaun Meredith __________________
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